        Case 2:21-cv-00381-JHE Document 108 Filed 03/08/23 Page 1 of 3                         FILED
                                                                                      2023 Mar-08 PM 07:03
                                                                                      U.S. DISTRICT COURT
                                                                                          N.D. OF ALABAMA


                          UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION


 JORDAN MANASCO, an individual;                   Case No.: 2:21-cv-00381-JHE
 BROOKE BLAIR, an individual; PEYTON
 MASTROPOLO, an individual; and                   COLLECTIVE ACTION
 KATRINA PEREZ, an individual,

        Plaintiffs,                               PLAINTIFFS’ REQUEST FOR A
                                                  STATUS CONFERENCE
 v.

 BEST IN TOWN, INC. dba THE FURNACE,
 an Alabama Corporation; GREGORY L.
 JACKSON, an individual; GRAHAM G.
 JACKSON, an individual; DOE
 MANAGERS 1 through 3; and DOES 4
 through 10, inclusive,

        Defendants.



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PLAINTIFFS’ REQUEST FOR A STATUS CONFERENCE                                     PAGE 1 OF 2
          Case 2:21-cv-00381-JHE Document 108 Filed 03/08/23 Page 2 of 3




        TO THIS HONORABLE COURT AND ALL COUNSEL OF RECORD plaintiffs

hereby request a short telephonic status conference to discuss with the Court and all counsel the

trial date. The Court in its July 13, 2022 indicated it would schedule a pretrial conference after

the deadline for dispositive motions.

        The Court ordered the parties to be ready for trial on or before June 5, 2023, and

Plaintiffs will be. However, Plaintiffs' counsel wants to coordinate the trial date at this time, as

their calendars have numerous potential conflicts (as do all parties involved) in the upcoming

months.

        Plaintiffs' counsel are seeking to be proactive and appreciate the Court's time and efforts

in this matter.

 Dated: March 8, 2023                                       /s/ John P. Kristensen
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PLAINTIFFS’ REQUEST FOR A STATUS CONFERENCE                                                PAGE 2 OF 2
         Case 2:21-cv-00381-JHE Document 108 Filed 03/08/23 Page 3 of 3




                             CERTIFICATE OF SERVICE

      I certify that on Wednesday March 8, 2023, a true and correct copy of the attached
PLAINTIFFS’ REQUEST FOR A STATUS CONFERENCE was served via CM/ECF upon
the following parties pursuant to Fed. R. Civ. P. 5:

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